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     8                           UNITED STATES DISTRICT COURT
     9                       CENTRAL DISTRICT OF CALIFORNIA
    10
    11 UNITED STUDIOS OF SELF                      CASE NO. 8:18-cv-01048-DOC-DFM
       DEFENSE, INC., a California
    12 corporation,
                                                   The Hon. David Carter
    13              Plaintiff,
    14        vs.                                  AMENDED JUDGMENT AND
                                                   ORDER
    15 KRISTOPHER RINEHART, MD, an
       individual; BRENT MURAKAMI, an
    16 individual; SOUTH BAY STUDIOS
       OF SELF DEFENSE, LLC, a California
    17 limited liability company; LOS
       ANGELES STUDIOS OF SELF
    18 DEFENSE, LLC, a California limited
       liability company; S.B. NINJA, LLC, a
    19 California limited liability company,
    20              Defendant.
    21
         AND RELATED COUNTERCLAIMS
    22
    23
    24        This matter was before the Court on a bench trial held on October 29-31,
    25 2019. The Action arises out of a contract dispute between United Studios of Self
    26 Defense Inc. (“USSD” or “Plaintiff”) and Kristopher Rinehart (“Rinehart”), Brent
    27 Murakami (“Murakami”) and entities owned wholly or partly by Rinehart and
    28 Murakami including Los Angeles Studios of Self Defense, LLC (“LASSD”), South

                                 AMENDED JUDGMENT AND ORDER
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                    1 Bay Studios of Self Defense, LLC (“SBSSD”), S.B. Ninja, LLC (“S.B. Ninja”), and
                    2 Rolling Hills USSD, LLC (“RHSSD”) (collectively, “Defendants”). Matthew
                    3 Berliner, Eric Hardeman, and Adam Harris of Fortis LLP appeared on behalf of
                    4 Plaintiff. Daniel DeCarlo and Esther Shin of Lewis Brisbois Bisgaard & Smith LLP
                    5 appeared on behalf of Defendants.
                    6            Having considered the evidence at trial, all papers filed in connection with
                    7 this matter, and statements made on the record,
                    8            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
                    9 judgment is entered in favor of Defendants as follows:
                   10 Plaintiff’s Claims
                   11 1. USSD’s claim for breach of contract as to the Redondo Beach Franchise
                   12       Agreement has no merit and Defendants are the prevailing party on this claim.
                   13 2. USSD’s claim for breach of contract as to the Beverly Hills Franchise Agreement
                   14       has no merit and Defendants are the prevailing party on this claim.
                   15 3. USSD’s claim for declaratory relief as to the Redondo Beach Franchise
                   16       Agreement has no merit and Defendants are the prevailing party on this claim.
                   17 4. USSD’s claim for intentional interference with contract against Murakami and
                   18       S.B. Ninja has no merit and Defendants are the prevailing party on this claim.
                   19 5. USSD’s claim for false designation/unfair competition under the Lanham Act
                   20       has no merit and Defendants are the prevailing party on this claim.
                   21 6. USSD’s claim for unfair business practices under Cal. Bus. & Prof. Code §§
                   22       17200 et. Seq. (“UCL”) has no merit and Defendants are the prevailing party on
                   23       this claim.
                   24 7. USSD’s claim for accounting of profits made from Lanham Act violation has no
                   25       merit and Defendants are the prevailing party on this claim.
                   26 8. USSD’s claim for declaratory relief under the Redondo Beach and Beverly Hills
                   27       Franchise Agreements is GRATED in part as defined by the Court’s December

LEWIS              28       4, 2019 Findings of Fact and Conclusions of Law.
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& SMITH LLP                                           [PROPOSED] JUDGMENT AND ORDER
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                    1 9. USSD shall take nothing by way of its claims.
                    2 Defendants’ Counterclaims
                    3 10. Defendants’ counterclaim for declaratory relief as to the lack of formation of the
                    4       Redondo Beach Franchise Agreement is GRANTED and Defendants are the
                    5       prevailing party on this counterclaim.
                    6 11.Defendants’ counterclaim for declaratory relief as to the right to rescind the
                    7       Rolling Hills and Torrance License Agreement is GRANTED and Defendants
                    8       are the prevailing party on this counterclaim.
                    9 12. Regarding Defendants’ counterclaim for breach of contract as to the Beverly
                   10       Hills Franchise Agreement, Defendants have not shown any breach of the
                   11       Beverly Hills Franchise Agreement.
                   12 Attorneys’ Fees and Costs
                   13 13. Judgment of attorney fees in the amount of $1,177,238 plus costs of $84,528.72
                   14       under California Code of Civil Procedure § 1717 is entered in favor of
                   15       Defendants and against Plaintiff United Studios Of Self Defense, Inc.
                   16 Sanctions against Plaintiff and Charles Mattera
                   17 14. The Court hereby grants Defendants’ motion for terminating sanctions in part
                   18       but declines to terminate Plaintiff’s case in its entirety. The Court does instead
                   19       hereby grant the motion in part by awarding all of Defendants’ attorneys’ fees
                   20       and costs against Charles Mattera and USSD jointly and severally as set forth
                   21       below in paragraph 16.
                   22 15.The Court hereby exercises its inherent authority to assess sanctions against
                   23       Plaintiff and Charles Mattera as the Court finds that Defendants are the
                   24       prevailing party and that both Plaintiff and Charles Mattera engaged in conduct
                   25       that amounts to bad faith in the prosecution of this Action. Charles Mattera
                   26       committed a fraud on the Court and his actions must be punished and as such, the
                   27       Court awards to Defendants as a sanction, all of Defendants’ costs and attorneys’

LEWIS              28       fees incurred in this Action and that such award of fees and costs shall be joint
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& SMITH LLP                                          JUDGMENT AND ORDER
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                    1       and several against Plaintiff and Charles Mattera as set forth below in paragraph
                    2       16.
                    3 16. Judgment of attorney fees in the amount of $1,241,784 plus costs of $84,528.72
                    4       under the Court's inherent authority to issue fees and costs as a sanction is
                    5       entered in favor of Defendants and against Plaintiff United Studios Of Self
                    6       Defense, Inc. and against Charles Mattera jointly and severally. The award set
                    7       forth in this paragraph is not cumulative with respect to paragraph 13 herein, but
                    8       instead offers two separate avenues for which Defendants may collect attorneys’
                    9       fees and costs in this case. Defendants are free to pursue fees and costs under
                   10       either theory.
                   11
                   12             The Court hereby enters final judgment in favor of Defendants in accordance
                   13 with the Court’s Findings of Fact and Conclusions of Law and Order (ECF# 242)
                   14 and the Order Granting in Part Motion For Attorneys’ Fees (ECF#259) which are
                   15 incorporated by reference. Plaintiff shall take nothing and Defendants are awarded
                   16 attorneys’ fees and costs in the amount stated above.
                   17
                   18
                   19 IT IS SO ORDERED.
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                   21 DATED: February 19, 2020
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                   23
                                                                 The Honorable David O. Carter
                   24
                                                                 United States District Judge
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& SMITH LLP                                           JUDGMENT AND ORDER
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